                Case 24-60730                   Doc 20               Filed 01/06/25 Entered 01/06/25 09:03:02                                            Desc Main
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 Fill in this information to identify the case:

 Debtor name         Toledo Gas Gathering, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF TEXAS

 Case number (if known) 24-60730
                                                                                                                                                             Check if this is an
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                               Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                 $399,229.60          $0.00
           Internal Revenue Service                                  Check all that apply.
                                                                        Contingent
           Centralized Insolvency Operation
                                                                        Unliquidated
           P. O. Box 7346
                                                                        Disputed
           Philadelphia, PA 19101-7346
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim


 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $102,539.09
           4 R Ventures LLC
                                                                                       Contingent
           515 N. Fredonia St                                                          Unliquidated
           Longview, TX 75601                                                          Disputed
           Date(s) debt was incurred                                               Basis for the claim:
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $1,120,524.33
           Adriatic Marine LLC
           Madison Tucker, Jones Walker LLP 201 St.
                                                                                       Contingent
           Charles Ave. Suite 5100                                                     Unliquidated
           New Orleans, LA 70170                                                       Disputed
           Date(s) debt was incurred                                               Basis for the claim:
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes




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 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $798,001.77
          Amplify Energy Operating, LLC
                                                                                Contingent
          c/o Eric Williams 500 Dallas Street, Suite 1700                       Unliquidated
          Houston, TX 77002                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Anthony C. Cibilich
          Madison Tucker, Jones Walker LLP 201 St.
                                                                                Contingent
          Charles Ave. Suite 5100                                               Unliquidated
          New Orleans, LA 70170                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $200,000.00
          Associated Pipeline
                                                                                Contingent
          950 Echo Lane Suite 100                                               Unliquidated
          Houston, TX 77024                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $174,622.07
          Barnstorm Resources, LLC
                                                                                Contingent
          515 N. Fredonia St                                                    Unliquidated
          Longview, TX 75601                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $214,500.00
          Benton J. Poole
                                                                                Contingent
          1917 Esparanza Ct.                                                    Unliquidated
          Allen, TX 75013                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,677.33
          Blue Cross Blue Shield of Texas
                                                                                Contingent
          Post Office Box 650615                                                Unliquidated
          Dallas, TX 75265                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49,388.40
          Buffco Production, Inc.
                                                                                Contingent
          P. O. Box 2243                                                        Unliquidated
          Longview, TX 75606                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,530.01
          C&S Lease Service, LC
                                                                                Contingent
          P. O. Box 1049                                                        Unliquidated
          Kilgore, TX 75663                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Crestline Energy Partners LLC
          c/o Matthew W. Bobo Law Office, PLLC 4916
                                                                                Contingent
          Camp Bowie Blvd.                                                      Unliquidated
          Fort Worth, TX 76107                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Crestline Partners
          c/o Matthew W. Bobo Law Office, PLLC 4916
                                                                                Contingent
          Camp Bowie Blvd. Ft. Worth, Texas 76107                               Unliquidated
          Fort Worth, TX 76107                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,413.31
          Datamax
                                                                                Contingent
          P O Box 2235                                                          Unliquidated
          Saint Louis, MO 63109                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $53,715.22
          Eastman Midstream LP
                                                                                Contingent
          P O Box 2851                                                          Unliquidated
          Longview, TX 75606                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $675,000.00
          Estate of William K. Anderson
          c/o Willbanks & Willbanks, PC 1 Riverway Suite
                                                                                Contingent
          1700                                                                  Unliquidated
          Houston, TX 77058                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,000,000.00
          Finkelstein Partners
                                                                                Contingent
          Finkelstein Partners 1407 Fannin Street                               Unliquidated
          Houston, TX 77027                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,500,000.00
          Freeman Family Partnership
                                                                                Contingent
          2222 Merit Dr. #1400                                                  Unliquidated
          Dallas, TX 75251                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $400,000.00
          Freeman Mills PC
                                                                                Contingent
          12222 Merit Dr. #1400                                                 Unliquidated
          Dallas, TX 75251                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


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 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,750,000.00
          Houston Tall Pines, LLC
                                                                                Contingent
          Houston Tall Pines, LLC 1207 Antoine Drive                            Unliquidated
          Houston, TX 77055                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,600.00
          Internal Revenue Service
          Centralized Insolvency Operation
                                                                                Contingent
          P. O. Box 7346                                                        Unliquidated
          Philadelphia, PA 19101-7346                                           Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,343,983.52
          Jason Dial
          c/o Matthew W. Bobo Law Office, PLLC 4916
                                                                                Contingent
          Camp Bowie Blvd.                                                      Unliquidated
          Fort Worth, TX 76107                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          KEV-MEL, LLC
                                                                                Contingent
          515 N. Fredonia St.                                                   Unliquidated
          Longview, TX 75601                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $137.09
          Kirk Shields-Gregg Cnty Tax Assessor
          Kirk Shields-Gregg Cnty Tax Assessor
                                                                                Contingent
          P.O. Box 1431                                                         Unliquidated
          Longview, TX 75606                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $66,393.44
          Matthew Russell
                                                                                Contingent
          48 Lake Cherokee                                                      Unliquidated
          Longview, TX 75603                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,892.39
          Michelle Terry Gregg County Tax Assessor
          County Tax Assessor-Collections
                                                                                Contingent
          P O Box 1431                                                          Unliquidated
          Longview, TX 75606                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $242.49
          Nacogdoches CAD-AETHON ENERGY
          Nacogdoches Central Appraisal District
                                                                                Contingent
          216 W Hospital St                                                     Unliquidated
          Nacogdoches, TX 75961                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,102.63
          Onyx Gas                                                              Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $312.09
          Pitney Bowes Global Financial Services
          Pitney Bowes Global Financial Services
                                                                                Contingent
          Post Office Box 981022                                                Unliquidated
          Boston, MA 02298                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,537.00
          Progressive County Mutual Ins Co
                                                                                Contingent
          Dept 0561                                                             Unliquidated
          Carol Stream, IL 60132                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $48,400.75
          R. Kevin Russell
                                                                                Contingent
          515 N. Fredonia                                                       Unliquidated
          Longview, TX 75601                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,500,000.00
          Ralph Falls
          PACE COMMERCIAL LLC 5800 Old Pineville
          Road
                                                                                Contingent
          Suite 201,                                                            Unliquidated
          Charlotte, NC 28217                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $6,346.82
          RAM Interest, LP
                                                                                Contingent
          5354 Airport Freeway                                                  Unliquidated
          Haltom City, TX 76117                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $288,586.41
          Raymond S. Russell
                                                                                Contingent
          Post Office Box 373                                                   Unliquidated
          Longview, TX 75606                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


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 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,735.42
          Republic Services
                                                                                Contingent
          Post Office Box 78829                                                 Unliquidated
          Phoenix, AZ 85062                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,643.07
          Russco Oil & Gas, LLC
                                                                                Contingent
          P O Box 373                                                           Unliquidated
          Longview, TX 75606                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,346.68
          Scott Porter, Johnson Tax Assessor
          Scott Porter, Johnson County Tax Assessor
                                                                                Contingent
          Post Office Box 75                                                    Unliquidated
          Cleburne, TX 76033                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $339,600.58
          Shane Graves
          Shane Graves PC
                                                                                Contingent
          515 N. Fredonia Street                                                Unliquidated
          Longview, TX 75601                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,793.59
          Shoco Production - Partners
                                                                                Contingent
           1518 Colony Circle                                                   Unliquidated
          Longview, TX 75604                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $71,952.17
          Shoco Production, LP
                                                                                Contingent
          1518 Colony Circle                                                    Unliquidated
          Longview, TX 75604                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $543.67
          Stericycle, Inc.
                                                                                Contingent
          Stericycle, Inc. 28883 Network Place                                  Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $134.32
          Texas Mutual Insurance Company
                                                                                Contingent
           P.O. Box 841843                                                      Unliquidated
          Dallas, TX 75284                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes



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 3.42      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $750,000.00
           Two Sisters LLC
                                                                                Contingent
           PO Box 21270                                                         Unliquidated
           Oklahoma City, OK 73156                                              Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?       No        Yes


 3.43      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $22,550.00
           Wilbanks & Wilbanks, PC
                                                                                Contingent
           1 Riverway Suite 1700                                                Unliquidated
           Houston, TX 77056                                                    Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?       No        Yes


 3.44      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $2,500,000.00
           Wildcat Davis Accumulation II LP
                                                                                Contingent
           6800 Lakewood Blvd.                                                  Unliquidated
           Dallas, TX 75214                                                     Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?       No        Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

     If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.    Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                      399,229.60
 5b. Total claims from Part 2                                                                            5b.   +    $                   18,069,745.66

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                              5c.       $                       18,468,975.26




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